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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

CIVIL ACTION
NO. 1:13-cv-11967-LTS

THOMAS STALCUP,
Plaintiff

VS,

DEPARTMENT OF DEFENSE,

Nem eee ee Ne” Nee ee ee”

Defendant

EXHIBIT A
Case 1:21-mc-91009-LTS Document 14-1 Filed 01/15/21 Page 2 of 3
1/12/2021 Gmail - RE: Rule 7.1 Conferral: Motions for Consolidation and Hearing

Tom Stalcup <stalcupt@gmail.com>

RE: Rule 7.1 Conferral: Motions for Consolidation and Hearing
1 message

Farquhar, Rayford (USAMA) <Rayford.Farquhar@usdoj.gov> Tue, Jan 12, 2021 at 8:07 AM
To: Tom Stalcup <stalcupt@gmail.com>

Hello Tom,

The government would not oppose having the D.C. FBI motion heard on the same day as the other motions.

Ray

Rayford A. Farquhar

Chief, Defensive Litigation
Civil Division

United States Attorney's Office
1 Courthouse Way, Suite 9200
Boston, MA 02210

(617) 748-3284

Rayford farquhargeusdoj.gov

From: Tom Stalcup <stalcupt@gmail.com>

Sent: Monday, January 11, 2021 1:16 PM

To: Farquhar, Rayford (USAMA) <RFarquhar@usa.doj.gov>
Subject: Rule 7.1 Conferral: Motions for Consolidation and Hearing

Hi Ray,

Thanks for the information about the mixup with the FBI motion to compel being assigned to Judge Young. Looks like it's
sorted out now, and the information clarifies Cabell's ruling, so | don't plan to file a motion for clarification on this.

Motion for Consolidation:

| do think it's reasonable to consolidate the two separate cases now on this matter, both of which are before Cabell.
Federal rule 42(a)(2) and local rule 42(c) applies since each case involves a "common question of law or fact". Would
DoD and the FB! assent to such a motion? If not, could you provide their respective positions on such a motion.

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1/12/2021 Gmail - RE: Rule 7.1 Conferral: Motions for Consolidation and Hearing
Motion for Hearing:

! also plan to move to be heard on the FBI motion to compel at the same hearing Judge Cabell just scheduled for the
three other motions before him. Would DoD and the FBI assent to this? {f not, could you provide their respective
positions on such a motion.

Thank you,

Tom

Tom Stalcup, PhD
https://DataGarrison.com

877-943-4328 ext. 701

https://mail.google.com/mail/u/07ik=d934{33929&view=pt&search=all&permthid=thread-a%3Ar-74069648374 15550407%7Cmsg-f%3A168868640570... 2/2
